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Pro Se 14 (Rev. 12/1 6) Complaint for Violation of Civil Rights (Prisoner)
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UNITED STATES DISTRICT COURT

for the
District of

Division

Case No.

 

(to be filled in by the Clerk’s Office)

Jada Davis
Plaintiffis)

(Write the full name of each plaintiff who is filing this complaint.
If the names of all the piaintiffs cannot fit in the space above,
please write “see attached” in the space and attach an additional
page with the full list of names.)

=“V-

See Atfachec!

Defendant(s)
(Write the full name of each defendant who is being sued. If the
names of all the defendants cannot fit in the space above, please
write “see attached” in the space and attach an additional page
with the full list of names. Do not include addresses here.)

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COMPLAINT FOR VIOLATION OF CIVIL RIGHTS
(Prisoner Complaint)

 

NOTICE

Federal Rules of Civil Procedure 5.2 addresses the privacy and security concerns resulting from public access to
electronic court files. Under this rule, papers filed with the court should nor contain: an individual’s full social
security number or full birth date; the full name of a person known to be a minor; or a complete financial account
number. A filing may include only: the last four digits of a social security number; the year of an individual’s
birth; a minor’s initials; and the last four digits of a financial account number.

Except as noted in this form, plaintiff need not send exhibits, affidavits, grievance or witness statements, or any
other materials to the Clerk’s Office with this complaint.

In order for your complaint to be filed, it must be accompanied by the filing fee or an application to proceed in
forma pauperis.

 

 

 

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Pro Se 14 (Rev. 12/16) Complaint for Violation of Civil Rights (Prisoner)
L. The Parties to This Complaint

A. The Plaintifi(s)

Provide the information below for each plaintiff named in the complaint. Attach additional pages if

 

 

 

 

 

needed.
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All other names by which YU) Justice dander adr Canon Ci4¥.du. S19N7. » 119-995-6915
you have been known:
ID Number 09659-47935
Current Institution ¢ haffee toured heten fay Confer
Address Lu| LJ: ed St.
Salida fatesage See?
City State Zip Code

B. The Defendant(s)

Provide the information below for each defendant named in the complaint, whether the defendant is an
individual, a government agency, an organization, or a corporation. Make sure that the defendant(s)
listed below are identical to those contained in the above caption. For an individual defendant, include
the person’s job or title (if known) and check whether you are bringing this complaint against them in their
individual capacity or official capacity, or both. Attach additional pages if needed.

 

 

 

 

 

 

 

 

 

 

 

 

Defendant No. 1
Name William Peat Alder rors
Job or Title (if known) Judge
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Employer Chatfee Lous “f (anata éourds
Address 149 ee
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City State Zip Code
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Defendant No. 2 ,
Name Chattee County Sheriffs offige
Job or Title (if known) Sher (Ff
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Employer Choites Counts
Address b4i W. Bed St. PO. Boy 64
Salida tolertde _&/eOt
City State Zip Code

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Pro Se 14 (Rev. 12/16 ) Complaint for Violation of Civil Rights (Prisoner)

 

 

 

 

 

 

 

 

 

 

 

 

Defendant No. 3
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Job or Title (if known) The City he Police FoR the dtets of Saiidg,Ca:
Shield Number The Stade of Coloracle ;
Employer The e1ly of $a lide
Address UUS Enst 157 Street, Salida co #100!
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City State Zip Code
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Defendant No. 4 .
Name Susi) Ceay Kenda tl Pi 0.
Job or Title (if known) Paychia ivisd
Shield Number :
Employer tolvtado mental bealdia instidule ad Pueblo
Address jboo west a4th strees
_Ruetla sss tolerade BOS
City State Zip Code

[\yindividual capacity [U-fOfficial capacity = Both
il. Basis for Jurisdiction

Under 42 U.S.C. § 1983, you may sue state or local officials for the “deprivation of any rights, privileges, or
immunities secured by the Constitution and [federal laws].” Under Bivens v. Six Unknown Named Agents of
Federal Bureau of Narcotics, 403 U.S. 388 (1971), you may sue federal officials for the violation of certain
constitutional rights.

A. Are you bringing suit against (check all that apply):
meh us consti tutional
[7 Federal officials (a Bivens claim) -Doulle JeoPaest¥ — Ee owteids This «

[AF State or local officials (a § 1983 claim)

B. Section 1983 allows claims alleging the “deprivation of any rights, privileges, or immunities secured by
the Constitution and [federal laws].” 42 U.S.C. § 1983. If you are suing under section 1983, what
federal constitutional or statutory right(s) do you claim is/are being violated by state or local officials?

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G Plaintiffs suing under Bivens may only recover for the violation of certain constitutional rights. If you
are suing under Bivens, what constitutional right(s) do you claim is/are being violated by federal
officials? MY RIGhd vot tobe te¥4d Tunee <Peuble Seafardy- h Prosecutions
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Defendand Wd. 55 Name-MARGUEZ Bitecrick STARE — Tob of Tile -Altecwade Defense Counsel
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Pro Se 14 (Rev. 12/16) Complaint for Violation of Civil Rights (Prisoner) min

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D. Section 1983 allows defendants to be found liable only when they have acted “under color of any

statute, ordinance, regulation, custom, or usage, of any State or Territory or the District of Columbia.”

42 U.S.C. § 1983. If you are suing under section 1983, explain how each defendant acted under color

of state or local law. If you are suing under Bivens, explain how each defendant acted under color of

federal law. Attach additional pages if needed. They ALL fhed caf ‘a Concer? tas 4h Sudge
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Indicate whether you are a prisoner or other confined person as follows (check all that apply):
[-] Pretrial detainee
[-] civilly committed detainee

[| Immigration detainee

[A Convicted and sentenced state prisoner CONV! cted Tunce For samecharges 94 (3 14
Gndan F- 3l<f49 :
[] Convicted and sentenced federal prisoner

[| Other (explain)

 

IV. Statement of Claim

State as briefly as possible the facts of your case. Describe how each defendant was personally involved in the
alleged wrongful action, along with the dates and locations of all relevant events. You may wish to include
further details such as the names of other persons involved in the events giving rise to your claims. Do not cite
any cases or statutes. If more than one claim is asserted, number each claim and write a short and plain
statement of each claim in a separate paragraph. Attach additional pages if needed.

A. If the events giving rise to a claim arose oe ane describe where and when they arose.
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B. (ir the events giving rise to your claim arose in an institution, describe where and when they arose.

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Pro Se 14 (Rev. 12/16) Complaint for Violation of Civil Rights (Prisoner) _

C What date and approximate time did the events giving rise to your claim(s) occur? i”
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D. What are the facts underlying your claim(s)? (For example: What happened to you? Who did what?
Was anyone else involved? Who else saw what happened?) Jia d §eis Raers § ras dont € very

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Vv. Injuries

If you sustained injuries related to the events alleged above, describe your injuries and state what medical
treatment, if any, you required and did or did not receive. Togs jseaden Indhe Post office inches
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VI. ‘Relief

State briefly what you want the court to do for you. Make no legal arguments. Do not cite any cases or statutes.
If requesting money damages, include the amounts of any actual damages and/or punitive damages claimed for

the acts alleged. Explain the basis for these claims. 7. wand? B one honck el wall tondollag
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Pro Se 14 (Rev. 12/16) C int for Violation of Civil Rights (Prisoner)

VII.

Exhaustion of Administrative Remedies Administrative Procedures

The Prison Litigation Reform Act (“PLRA”), 42 U.S.C. § 1997e(a), requires that “[nJo action shall be brought
with respect to prison conditions under section 1983 of this title, or any other Federal law, by a prisoner confined
in any jail, prison, or other correctional facility until such administrative remedies as are available are
exhausted.”

Administrative remedies are also known as grievance procedures. Your case may be dismissed if you have not
exhausted your administrative remedies.

A, Did your claim(s) arise while you were confined in a jail, prison, or other correctional facility?

Yes

[_] No

If yes, name the jail, prison, or other correctional facility where you were confined at the time of the
events giving rise to your claim(s). C haFf-2e Cou vty Detention Candace aanct
Pore County ‘Sats

 

B. Does the jail, prison, or other correctional facility where your claim(s) arose have a grievance
procedure?

Wes
[| No

L] Do not know

C. Does the grievance procedure at the jail, prison, or other correctional facility where your claim(s) arose
cover some or all of your claims?

es
[ ] No
[] Do not know

If yes, which claim(s)? a att tg,
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Pro Se 14 (Rev. 12/1 6) Complaint for Violation of Civil Rights (Prisoner)

Dz Did you file a grievance in the jail, prison, or other correctional facility where your claim(s) arose
concerning the facts relating to this complaint?

[Wres
[] No

If no, did you file a grievance about the events described in this complaint at any other jail, prison, or
other correctional facility?

[] Yes
[LYNo

E. If you did file a grievance:

1. Where did you file the grievance? Chatter Cound % De fee acd extn Candace
anal Park CouvdY Veil.

 

2. What did you claim in your grievance? De Poy miller was samy cel! After
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“Tye Sieang aP BY Cue) Reeu? Kead Sei’: uP, Sso0/

KV 2r§ #3) peng Kidnapped pac $455 B® Felony ecime y

 

3. What was the result, if any? 61 encd fda thing LJG 3 Hea ey shtlipart
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4. What steps, if any, did you take to appeal that decision? Is the grievance process completed? If
not, explain why not. (Describe all efforts to appeal to the highest level of the grievance process.)

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F. If you did not file a grievance:

1. Ifthere are any reasons why you did not file a grievance, state them here:

 

2. Ifyou did not file a grievance but you did inform officials of your claim, state who you informed,
when and how, and their response, ifany: Suolge Aldlerton 7 S54 Cou Perad
Perk covery Seth +

 

G. Please set forth any additional information that is relevant to the exhaustion of your administrative
remedies. TE Stecded Praying Fok Hele, 4 haf Wis Aims na d Ke pe
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(Note: You may attach as exhibits to this complaint any documents related to the exhaustion of your
administrative remedies.)

VIIL Previous Lawsuits

The “three strikes rule” bars a prisoner from bringing a civil action or an appeal in federal court without paying
the filing fee if that prisoner has “on three or more prior occasions, while incarcerated or detained in any facility,
brought an action or appeal in a court of the United States that was dismissed on the grounds that it is frivolous,
malicious, or fails to state a claim upon which relief may be granted, unless the prisoner is under imminent
danger of serious physical injury.” 28 U.S.C. § 1915(g).

To the best of your knowledge, have you had a case dismissed based on this “three strikes rule”?

LC] Yes

Aro

If yes, state which court dismissed your case, when this occurred, and attach a copy of the order if possible.

 

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A. Have you filed other lawsuits in state or federal court dealing with the same facts involved in this
action?

[Hf ves
[ ] No

B. If your answer to A is yes, describe each lawsuit by answering questions | through 7 below. (If there is
more than one lawsuit, describe the additional lawsuits on another page, using the same format.)

1. Parties to the previous lawsuit
Plaintiffs) Spd Dpvio
Defendant(s) Wy yyamed Defendants

2. Court (if federal court, name the district; if state court, name the county and State)

Denver Distne+t coucs

3. Docket or index number

 

4. Name of Judge assigned to your eee -éV -o8 Us

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hese Sudges aaa
5. Approximate date of filing lawsuit Ri+tach them te This

5- vo-Qol") BOONE AEH ¢

6. Is the case still pending?
C] Yes

[Ko

If no, give the approximate date of disposition. é| 6 seed

 

 

 

7. What was the result of the case? (For example: Was the case dismissed? Was judgment entered
in your favor? Was the case appealed?)

thnsec! -did nod cure deligiencies wrton Sime Aihuwec/.

C. Have you filed other lawsuits in state or federal court otherwise relating to the conditions of your
imprisonment?

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LJ Yes
[yo

D. If your answer to C is yes, describe each lawsuit by answering questions | through 7 below. (If there is
more than one lawsuit, describe the additional lawsuits on another page, using the same format.)

1, Parties to the previous lawsuit
Plaintiff(s)
Defendant(s)

 

 

2. Court (if federal court, name the district; if state court, name the county and State)

 

3. Docket or index number

 

4. Name of Judge assigned to your case

 

5. Approximate date of filing lawsuit

 

6. Is the case still pending?

[_] Yes
[_]No

If no, give the approximate date of disposition

 

7. What was the result of the case? (For example: Was the case dismissed? Was judgment entered
in your favor? Was the case appealed?)

 

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IX.

Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, | certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11.

A. For Parties Without an Attorney
I agree to provide the Clerk’s Office with any changes to my address where case-related papers may be

served. I understand that my failure to keep a current address on file with the Clerk’s Office may result
in the dismissal of my case.

Date of signing: | |- VS. 20 i 4

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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City State Zip Code
B. For Attorneys
Date of signing:
Signature of Attorney
Printed Name of Attorney
Bar Number
Name of Law Firm
Address
City State Zip Code
Telephone Number
E-mail Address

 

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